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 8                               IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                           CASE NO. 2:21-CR-0007-MCE
11
                                  Plaintiff,             ORDER
12
                            v.                           COURT: Hon. Morrison C. England, Jr.
13
     JASON LAMAR LEE,
14
                                  Defendant.
15

16                                                   ORDER
17          Upon the motion of the United States, good cause having been shown,

18          IT IS HEREBY ORDERED that the order issued January 15, 2021, by the United States

19 Magistrate Judge for the District of Nevada, authorizing the release of the defendant, Jason Lamar Lee,

20 shall be stayed until further order of this Court, and the defendant shall remain in the custody of the

21 United States Marshal’s Service pending further proceedings before this Court on the government’s

22 motion to revoke the release order pursuant to Title 18, United States Code, Section 3145;

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              Case 2:21-cr-00007-DAD Document 19 Filed 01/15/21 Page 2 of 2

 1          IT IS FURTHER ORDERED that the United States Marshal’s Service shall promptly transport

 2 the defendant from the District of Nevada to the Eastern District of California for such proceedings.

 3          IT IS SO ORDERED.

 4 Dated: January 15, 2021

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